                    IN THE COURT OF APPEALS OF NORTH CAROLINA

                                     2021-NCCOA-184

                                      No. COA20-718

                                     Filed 4 May 2021

     Watauga County, No. 13 CRS 51810

     STATE OF NORTH CAROLINA

                   v.

     WILBERT HENDRICKS


           Appeal by Defendant from Judgment entered 10 March 2020 by Judge Gary

     M. Gavenus in Watauga County Superior Court. Heard in the Court of Appeals 14

     April 2021.


           Attorney General Joshua H. Stein, by Assistant Attorney General Zachary K.
           Dunn, for the State.

           Mary McCullers Reece for defendant-appellant.


           HAMPSON, Judge.


                          Factual and Procedural Background

¶1         Wilbert Hendricks (Defendant) appeals from the trial court’s Judgment and

     Commitment upon Revocation of Probation entered 10 March 2020 activating

     Defendant’s 29- to 47-month suspended sentence. The Record reflects the following:

¶2         On 2 December 2013, a Watauga County Grand Jury indicted Defendant on

     one count of Aggravated Felony Serious Injury by Vehicle.        As evidenced by

     Defendant’s Transcript of Plea, Defendant pled guilty to one count each of:
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     Aggravated Felony Serious Injury by Vehicle (13 CRS 51810); Driving While

     Impaired (13 CRS 51807); and Injury to Real Property (13 CRS 51809). The trial

     court entered Judgment Suspending Sentence imposing a suspended 29- to 47-month

     active sentence and a 60-month period of supervised probation. The trial court did

     not check box 3 on the Judgment form indicating the period of probation was to begin

     after Defendant was released from incarceration, but the trial court did note on the

     form that Defendant’s probation was to be “stayed until defendant is released from

     custody.” The trial court further imposed an active sentence of 330 days as conditions

     of special probation pursuant to N.C. Gen. Stat. § 15A-1351.

¶3         Defendant began his active sentence in 13 CRS 51810 on 7 October 2014 and

     then served a brief 26-day sentence for Misdemeanor Injury to Real Property.

     Defendant began his supervised probation on 28 September 2015.           Defendant’s

     probation officer filed probation violation reports on 23 January 2020, 5 February

     2020, and 25 February 2020. Defendant’s probation revocation hearing came on for

     trial on 10 March 2020. After receiving evidence and testimony, the trial court found

     Defendant willfully violated the terms of his probation—the trial court revoked

     Defendant’s probation and activated his suspended sentence. Defendant gave oral

     Notice of Appeal in open court. That same day, the trial court entered Judgment and

     Commitment upon Revocation of Probation revoking Defendant’s probation and

     activating his suspended 29- to 47-month suspended sentence.
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                                              Issue

¶4         The issue on appeal is whether the Superior Court lacked subject-matter

     jurisdiction to revoke Defendant’s probation because Defendant’s probation officer

     filed violation reports after the probationary period expired.

                                            Analysis

¶5         Defendant argues the trial court lacked subject-matter jurisdiction to revoke

     his probation because the probation period, as imposed, had already expired. The

     State agrees and so do we.

¶6         “A trial court must have subject matter jurisdiction over a case in order to act

     in that case.” State v. Reinhardt, 183 N.C. App. 291, 292, 644 S.E.2d 26, 27 (2007)

     (citation omitted). “Except as provided in N.C. Gen. Stat. § 15A-1344(f), a trial court

     lacks jurisdiction to revoke a defendant’s probation after the expiration of the

     probationary term.” Id. at 293, 644 S.E.2d at 27 (citation omitted). “[T]he issue of a

     court’s jurisdiction over a matter may be raised at any time, even for the first time on

     appeal or by a court sua sponte.” State v. Webber, 190 N.C. App. 649, 650, 660 S.E.2d

     621, 622 (2008) (citation omitted).     Whether the trial court had subject-matter

     jurisdiction per our General Statutes is an issue requiring this Court to conduct a

     statutory analysis, and, thus, a de novo review. State v. Satanek, 190 N.C. App. 653,

     656, 660 S.E.2d 623, 625 (2008) (citation omitted).

¶7         N.C. Gen. Stat. § 15A-1344(f) provides:
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              The court may extend, modify, or revoke probation after the
              expiration of the period of probation if all of the following apply:

              (1) Before the expiration of the period of probation the State has
              filed a written violation report with the clerk indicating its intent
              to conduct a hearing on one or more violations of one or more
              conditions of probation.

              (2) The court finds that the probationer did violate one or more
              conditions of probation prior to the expiration of the period of
              probation.

              (3) The court finds for good cause shown and stated that the
              probation should be extended, modified, or revoked.

              (4) If the court opts to extend the period of probation, the court
              may extend the period of probation up to the maximum allowed
              under G.S. 15A-1342(a).

     N.C. Gen. Stat. § 15A-1344(f) (2019).

¶8         As to special probation, N.C. Gen. Stat. § 15A-1351 provides:

              The original period of probation, including the period of
              imprisonment required for special probation, shall be as specified
              in G.S. 15A-1343.2(d), but may not exceed a maximum of five years,
              except as provided by G.S. 15A-1342(a). The court may revoke,
              modify, or terminate special probation as otherwise provided for
              probationary sentences.

     N.C. Gen. Stat. § 15A-1351(a) (2019) (emphasis added). N.C. Gen. Stat. § 15A-1342

     allows for extending probation with the defendant’s consent:

              beyond the original [probationary] period (i) for the purpose of
              allowing the defendant to complete a program of restitution, or
              (ii) to allow the defendant to continue medical or psychiatric
              treatment ordered as a condition of the probation. The period of
              extension shall not exceed three years beyond the original period
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               of probation. The special extension authorized herein may be
               ordered only in the last six months of the original period of
               probation. Any probationary judgment form provided to a
               defendant on supervised probation shall state that probation may
               be extended pursuant to this subsection.

     N.C. Gen. Stat. § 15A-1342(a) (2019).

¶9         Here, the trial court originally sentenced Defendant to an intermediate

     punishment of special probation for 60 months, including an active sentence of 330

     days. Therefore, under N.C. Gen. Stat. § 15A-1351(a), Defendant’s total probationary

     period included his 330-day active sentence. Defendant began serving his active

     sentences on 7 October 2014. Thus, at the latest, Defendant’s probationary period

     began on 3 November 2014, after Defendant served his 26-day sentence for

     Misdemeanor Injury to Real Property. As such, Defendant’s 60-month probationary

     period would have ended, at the latest, on 3 November 2019. Because Defendant’s

     probation officer did not file violation reports until 23 January 2020 at the earliest,

     the violation reports were not filed before Defendant’s probationary period had ended

     pursuant to N.C. Gen. Stat. § 15A-1344(f). Consequently, the trial court lacked

     subject-matter jurisdiction to revoke Defendant’s probation and activate his

     suspended sentence. Reinhardt, 183 N.C. App. at 293, 644 S.E.2d at 27. Therefore,

     we vacate the trial court’s Judgment and Commitment upon Revocation of Probation.

     State v. Tincher, 266 N.C. App. 393, 398, 831 S.E.2d 859, 863 (2019).

                                          Conclusion
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                                      Opinion of the Court



¶ 10         Accordingly, for the foregoing reasons, we conclude the trial court lacked

       subject-matter jurisdiction to revoke Defendant’s probation; thus, we vacate the

       Judgment and Commitment upon Revocation of Probation.

             VACATED.

             Judges DIETZ and ZACHARY concur.
